                          Case 15-13372-AJC      Doc 446      Filed 12/19/18        Page 1 of 2
                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA


IN RB:                                                                                    CASE NO.¡ 15-13372-BKC-AJC
ANDREA ROSEN LIEBMAN




                                      NOTICE OF DEPOSIT OF FUNDS WITH


NOTICE IS HEREBY GIVBN THAT:

The Trustee has a balance of $36,688.91 remaining in her bank account which represents unpresented checks drawn and
mailed to debtor(s)/creditor(s) in the above named case. Your trustee has made a good faith efforl to verifu the correct
mailing address for said debtors(s)/creditor(s) and deliver the funds before pressenting this notice, More than sufficient
time has passed for these checks to be presented for payment, or the creditor has returned funds indicating they refuse the
funds.

Attached and made a part of this notice, is a list, pursuant to FRBP 3011, of the names, claim numbers and addresses of
the debtor(s)/creditor(s) and the arnounts to which each is entitled.

    WHEREFORE, your Trustee hereby gives notice that the above-stated sum has been deposited with the Clerk of the
United States Bankruptcy Couft, Southern District of Florida, to effect closing tliis estate.




Date:                       lz"tq-lr
                                                                               ST     ING           13   TRUSTEE
                                                                               P     OX

COPIES FTJRNISHED TO:
         ANDREA ROSEN LIEBMAN                                       ANDREA ROSEN LIEBMAN
         POB 366I                                                   POB 3661
         I-IALLANDALE, FI- 33008                                    H.,\LL^NDALE, FI- 33008


         U.S. ]'RUSTEts
         5I S,W, IST AVENUE
         MtAMt, FL 33130
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                                                                    NOTICE OF DEPOSIT OF FUNDS
                                                                      CASE   NO.: |5-13372-BKC-AJC

ATTACI-IMENT

                         NOTICE OF DBPOSIT OF FUNDS WITH THB




                              CASE NO;: 15,13372,8KC-AJe -




     ANÐRtrA ROSEN LIEBMAN                                                        $36;688.9
     POB 3661
     HALLANDALE, FL   33OOB
